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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NEW YORK



 UNITED STATES OF AMERICA,
                                                        DECISION AND ORDER
                      -vs-
                                                           08-CR-6218-CJS-1
 SEAN BROWN, # 16607-055,
                                                            12-CV-6317-CJS
                                   Defendant.




                                   INTRODUCTION
      Siragusa, J. This matter is before the Court on the defendant’s applications, filed

on June 25, 2015, ECF No. 158 and ECF No. 159, seeking a certificate of appealability

pursuant to 28 U.S.C. § 2253 and recusal of the undersigned pursuant to 28 U.S.C.

§ 444(b)(1). For the reasons stated below, both applications are denied.

                                   BACKGROUND
      The defendant, Sean Brown (“Brown”), was indicted on October 15, 2008, for vio-

lating 21 U.S.C. § 846, conspiracy to manufacture, possess and distribute 50 grams or

more of cocaine base, and 21 U.S.C. § 841(a)(1), manufacture and possess with intent

to distribute 50 grams or more of cocaine base. The indictment also sought forfeiture of

United States Currency. Almost a year later, on October 9, 2009, pursuant to Federal

Rule of Criminal Procedure 11(c)(1)(C), Brown entered into a plea agreement with the

government and agreed to plead guilty to a violation of 21 U.S.C. § 841(a)(1) with a

sentence of imprisonment of 240 months in satisfaction of the indictment. The plea

agreement contained a wavier that was effective if the Court sentenced Brown to the

agreed-upon 240 months, or less. Further, the plea agreement permitted Brown to re-
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serve his right to challenge this Court’s determination on his prior motion to suppress

tangible evidence seized pursuant to execution of a search warrant.

      During the plea colloquy, the Court extensively reviewed the waiver provisions of

the plea agreement with Brown. Plea Transcript 20–22, Oct. 9, 2009, ECF No. 153-1.

The Court also reviewed with Brown on the record the material terms of the plea

agreement, confirmed that Brown was informed of the charges and agreed to the facts

supporting the charges, fully understood the material terms of the agreement and un-

derstood the consequences of pleading guilty, and ascertained that Brown had not been

coerced in any way to plead guilty. Plea Transcript 12–24, 28–31.

      On January 15, 2010, the Court sentenced Brown to the agreed-upon 240

months of incarceration. Sentencing Transcript 4, 10 & 15, Jan. 15, 2010, ECF No. 153.

On April 5, 2011, the United States Court of Appeals for the Second Circuit issued a

mandate affirming the judgment of conviction, and rejecting his challenge to this Court’s

denial of his suppression motion. Summary Order, Jul. 1, 2011, ECF No. 141.

      On June 11, 2012, Brown filed his first motion to vacate, and on June 18, 2012,

filed an amended motion to vacate, ECF No. 150. Brown’s argument for vacatur was

that his trial defense counsel was ineffective for failing to raise an issue under Federal

Rule of Criminal Procedure 11 challenging the process by which his plea was procured.

Brown argued that the Court impermissibly involved itself in the plea bargaining process

contrary to Rule 11. On January 21, 2015, the Court denied Brown’s § 2255 application

after determining that it did not impermissibly inject itself into plea negotiations. Now

Brown seeks a certificate of appealability from the Court’s ruling on his § 2255 motion,

and argues that the Court should recuse itself from consideration of that application, be-



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cause the Court has personal knowledge of the disputed evidentiary facts concerning

the proceedings and might be called as a witness.

                                 STANDARDS OF LAW
Recusal
       Title 28 U.S.C. § 455 provides, in relevant part, as follows:

       (a) Any justice, judge, or magistrate of the United States shall disqualify
       himself in any proceeding in which his impartiality might reasonably be
       questioned.

       (b) He shall also disqualify himself in the following circumstances:

         (1) Where he has a personal bias or prejudice concerning a party, or
       personal knowledge of disputed evidentiary facts concerning the proceed-
       ing. . . .

28 U.S.C. § 455(a) & (b)(1) (2015).

       As a general matter, recusal motions are committed to the discretion of the judge

who is being asked to disqualify himself and who is enjoined to “weigh the policy of

promoting public confidence in the judiciary against the possibility that those questioning

his impartiality might be seeking to avoid the adverse consequences of his presiding

over their case. Litigants are entitled to an unbiased judge, not to a judge of their choos-

ing.” In re Drexel Burnham Lambert, Inc., 861 F.2d 1307, 1312 (2d Cir.1988) (citation

omitted), cert. denied sub nom. Milken v. S.E.C., 490 U.S. 1102, 109 S. Ct. 2458, 104 L.

Ed. 2d 1012 (1989). Moreover, “[a] judge is as much obliged not to recuse himself when

it is not called for as he is obliged to when it is.” Id. at 1312 (citation omitted). Recusal

motions should not be used as strategic devices to judge shop or delay the proceed-

ings. Lamborn v. Dittmer, 726 F.Supp. 510, 515 (S.D.N.Y. 1989).

       It is well settled that all subsections of § 455 are construed to require a timely

application, which our Circuit reads as a “threshold” issue—i.e., one to be evaluated be-


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fore matters of substance are reached. Apple v. Jewish Hospital and Medical Center,

829 F.2d 326, 333 (2d Cir. 1987). In United States v. Brinkworth, 68 F.3d 633, 639–40

(2d Cir. 1995), the Second Circuit, relying on Apple, 829 F.2d at 333, stated that, in

general, one seeking disqualification must do so “at the earliest possible moment after

obtaining knowledge of facts demonstrating the basis for such a claim” of disqualifica-

tion. Accord, Gil Enters., Inc. v. Delvy, 79 F.3d 241, 247 (2d Cir.1996). Thus,

“[u]ntimeliness . . . is . . . a failure to seek recusal when it should first have been sought,

that is, as soon as the facts on which it is premised are known to the parties.” United

States v. Bayless, 201 F.3d 116, 127 (2d Cir. 2000), cert. denied, 529 U.S. 1061, 120 S.

Ct. 1571, 146 L. Ed. 2d 474 (2000). Moreover, “untimeliness in making a motion for

recusal can sometimes constitute the basis for finding an implied waiver.” Id. The Sec-

ond Circuit has written that, in the context of ongoing litigation, this timeliness require-

ment serves two functions:

       First, a prompt application affords the district judge an opportunity to as-
       sess the merits of the application before taking any further steps that may
       be inappropriate for the judge to take. Second, a prompt application
       avoids the risk that a party is holding back a recusal application as a fall-
       back position in the event of adverse rulings on pending matters.

In re IBM Corp., 45 F.3d 641, 643 (2d Cir. 1995). In deciding whether a recusal motion

is timely, courts must “apply a four-factor test which asks whether: (1) the movant has

participated in a substantial manner in trial or pre-trial proceedings; (2) granting the mo-

tion would represent a waste of judicial resources; (3) the motion was made after the

entry of judgment; and (4) the movant can demonstrate good cause for delay.” Apple,

829 F.2d at 334 (citations omitted).

       If the Court determines that the recusal motion is timely, it must then address the

merits of the application. As to § 455(a), the relevant inquiry is: “Would a reasonable
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person, knowing all the facts, conclude that the trial judge's impartiality could reasonably

be questioned? Or phrased differently, would an objective, disinterested observer fully

informed of the underlying facts, entertain significant doubt that justice would be done

absent recusal?” Bayless, 201 F.3d at 127; accord, Diamondstone v. Macaluso, 148

F.3d 113, 120-21 (2d Cir. 1998). The standard is “designed to promote public confi-

dence in the impartiality of the judicial process.” In re Drexel Burnham Lambert Inc., 861

F.2d at 1313 (quoting H.R. Rep. No. 93-1453, at 5 (1974), reprinted in 1974

U.S.C.C.A.N. 6351, 6354-55). “Nevertheless, the existence of the appearance of impro-

priety is to be determined not by considering what a straw poll of the only partly in-

formed man-in-the-street would show, but by examining the record facts and the law,

and then deciding whether a reasonable person knowing and understanding all the rel-

evant facts would recuse the judge.” Bayless, 201 F.3d at 126-27 (citation and internal

quotations omitted).

       Furthermore, although the “extrajudicial source” doctrine applies to recusal mo-

tions under 28 U.S.C. § 455(a), “[t]he fact that an opinion held by a judge derives from a

source outside judicial proceedings is not a necessary condition for ‘bias or prejudice’

recusal . . . . Nor is it a sufficient condition for [such] recusal . . . .” Liteky v. United

States, 510 U.S. 540, 554, 114 S. Ct. 1147, 127 L. Ed. 2d 474 (1994). In other words,

the “presence of an extrajudicial source [does not] necessarily establish bias, nor [does]

the absence of an extrajudicial source necessarily preclude [] bias.” Id. In any event,

“[j]udicial rulings alone almost never constitute valid basis for a bias or partiality motion.”

Id. Instead, the judge’s rulings should constitute grounds for appeal, not for recusal. Id.

Further, opinions formed by the judge that are based on the evidence in the case or



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events occurring during the proceedings do not constitute a basis for recusal “unless

they display a deep-seated favoritism or antagonism that would make fair judgment im-

possible. Thus, judicial remarks during the course of a trial that are critical or disapprov-

ing of, or even hostile to, counsel, the parties, or their cases, ordinarily do not support a

bias or partiality challenge.” Id.

Certificate of Appealability
       Title 28 U.S.C. § 2253 reads in pertinent part as follows:

       (a) In a . . . proceeding under section 2255 before a district judge, the final
       order shall be subject to review, on appeal, by the court of appeals for the
       circuit in which the proceeding is held. . . .

       (c) (1) Unless a circuit justice or judge issues a certificate of appealability,
       an appeal may not be taken to the court of appeals from— . . .

           (B) the final order in a proceeding under section 2255.

          (2) A certificate of appealability may issue under paragraph (1) only if
       the applicant has made a substantial showing of the denial of a constitu-
       tional right.

  (3) The certificate of appealability under paragraph (1) shall indicate which specific

issue or issues satisfy the showing required by paragraph (2).

28 U.S.C. § 2253 (2015).

                                        ANALYSIS
Recusal
       Brown contends in a letter attached to his filed motions that he filed his applica-

tions on January 27, 2015, from “Federal Prison Elkton.” However, the applications

were only docketed on June 25, 2015. The three envelopes in which the applications

arrived were all postmarked on June 23, 2015. Plaintiff filed his original § 2255 applica-

tion, which first raised the allegation of the Court’s involvement in the plea bargaining

process, on June 11, 2012, which was more than two and a half years after Brown ob-


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tained knowledge of facts demonstrating the basis for his original claim of disqualifica-

tion. Thus, Brown’s recusal application is untimely and is denied.

      Nevertheless, even if Brown had moved to recuse in 2012, or earlier, the Court

would have denied the motion. A district judge is not required to recuse himself from

consideration of an issue in which he has personal knowledge because of his involve-

ment in the case. For example, the Fifth Circuit, in Bryan v. United States, 492 F.2d

775 (5th Cir. 1974) (en banc), reviewed a case where the defendant alleged the follow-

ing misconduct on the part of the trial judge, prosecutor, and defense attorney:

      Bryan’s motion papers assert that, pursuant to the terms of his plea bar-
      gain, he and his lawyer both deliberately deceived the district court in their
      representations at the time of Bryan’s change of plea on the escape
      charge. Bryan’s supporting affidavit declares that Counsel Thomas repre-
      sented to him that a plea bargain had been concluded between Thomas,
      other defense attorneys, the United States Attorney and District Judge,
      which provided for Bryan to receive a concurrent sentence on the escape
      charge to any sentence which might be imposed if the jury found him
      guilty after the pending bank robbery trial. A further alleged condition of
      the bargain was for the conduct of an official charade in which the parties
      and the court would falsely develop a record of proceedings by ritualisti-
      cally reciting that no agreement had produced the plea of guilty and that
      no promises or bargains of any kind underlaid it. Bryan also alleged that at
      the time of sentencing he immediately protested the failure of the bargain
      to his attorney and that his attorney then brought the agreement to the at-
      tention of the judge, who required his attorney’s comment to be placed of
      record. He concludes with the assertions that “the judge then said some-
      thing but I don’t remember what he said,” and that the portion of the record
      reflecting this exchange has been wrongfully deleted.

Bryan, 492 F.2d at 777.

      Unlike the allegations made in the petitions filed by [codefendants] Fon-
      taine or Machibroda, Bryan’s assertions sought to place the district judge
      improperly but squarely in the midst of the plea bargaining process both in
      the anteroom and in the courtroom. All of the material issues raised by
      Bryan are ones the judge, who was required by Section 2255 to hear the
      motion, could readily resolve by drawing on his own personal knowledge
      and recollection. It is sure that if he had done such an extraordinary thing
      as to participate in making a plea bargain with a defendant who was to
      appear before him, especially a bargain the judge had a part in suppress-
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       ing and did not keep, the matter would be indelibly impressed on his
       memory.FN3

       FN3. Bryan’s allegations as to an altered record of the proceedings at sen-
       tencing are also pertinent here. It passes being credible that a judge would
       not know that a part of a record of proceedings before him in which he had
       required a lawyer to publicly state facts establishing judicial wrongdoing
       had been wrongfully deleted.

Bryan, 492 F.2d at 779–80.

Certificate of Appealability
       The Court has already determined that it did not improperly participate in plea

negotiations. The Court encouraged the parties to engage in negotiations, but was not a

part of those negotiations. C.f. United States v. Davila, __ U.S. __, 133 S. Ct. 2139,

2144 (2013) (magistrate judge told defendant at an in camera hearing without the pros-

ecutor, “it might be a good idea for the Defendant to accept responsibility for his criminal

conduct[,] to plead guilty[,] and go to sentencing with the best arguments ... still availa-

ble [without] wasting the Court’s time, [and] causing the Government to have to spend a

bunch of money empanelling a jury to try an open and shut case.”). Further, even if the

Court had improperly participated in the plea bargaining process, “[n]othing in Rule 11’s

text, however, indicates that the ban on judicial involvement in plea discussions, if dis-

honored, demands automatic vacatur of the plea without regard to case-specific circum-

stances.” Davila, 133 S. Ct. at 2148. Brown failed to argue case specific circumstances

that justified vacatur, other than his contention that the Court violated Rule 11.

       In his memorandum of law in support of his second motion for vacatur, Brown ar-

gued that the Court’s discussion of the plea agreement presented to the Court by de-

fense counsel, had an effect on the prosecutor:

       Finally, caving into judicial prodding, the once adamant prosecutor capitu-
       lated and responded affirmatively to the Court regarding the brokered

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       agreement, “We are” willing to reach an agreement. Id. at 9. (“I don’t have
       any problem drafting a plea in that fashion and seeking approval for it.”) Id.

Mem. of Law in Support of Motion to Vacate Conviction and Sentence Pursuant to 28

U.S.C. § 2255 at 5, Jun. 18, 2012, ECF No. 150-1. As conceded by Brown, the prosecu-

tor, who had been adamant about not bargaining with Brown’s counsel, relented and did

consent to engage in plea negotiations with trial defense counsel. Nowhere in Brown’s

argument did he indicate how the particular circumstances of the plea bargaining pro-

cess result in constitutional error to his case. Therefore, the Court denies a certificate of

appealability.

                                       CONCLUSION
       For the reasons stated above, the Court denies the defendant’s application, ECF

No. 158, for recusal, and denies his application, ECF No. 159, for the issuance of a cer-

tificate of appealability.

DATED:           July 14, 2015
                 Rochester, New York
                                                  /s/ Charles J. Siragusa
                                                  CHARLES J. SIRAGUSA
                                                  United States District Judge




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